Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 1 of 13




                                           UNITED STATES DISTRICT
                                          COURT SOUTHERN DISTRICT
                                          OF FLORIDA MIAMI DIVISION

                                   CASE NO.: 22-cv-22538-ALTMAN/REID

   PIERCE ROBERTSON, et al., on
   behalf of himself and others similarly
   situated,

              Plaintiffs,
   v.

   MARK CUBAN, et al.,

               Defendants.
                                                /

                                    JOINT SCHEDULING REPORT

              Plaintiffs, PIERCE ROBERTSON, et al. (“Plaintiffs”), and Defendants, MARK CUBAN
   and DALLAS BASKETBALL LIMITED d/b/a DALLAS MAVERICKS, (“Defendants”)
   (Defendants together with Plaintiff, the “Parties”), submit this Joint Scheduling Report pursuant
   to SDF Local Rule 16.1(b), and Federal Rule of Civil Procedure 26(f)(3). The Parties conferred on
   November 11, 2022 and Report as follows:
        I.        Plaintiffs’ Statement

             This is a proposed class action brought on behalf of a Nationwide Class and State Subclasses,
  of all individuals offered or sold, deceptive Voyager Earn Program Accounts (“EPAs”), which were
  admittedly marketed and promoted by the Defendants. Plaintiffs allege— as the New Jersey Bureau
  of Securities found in their Summary Cease and Desist Order dated March 29, 2022, 1 and as similarly
  found by numerous state securities regulators of Alabama, Oklahoma, Texas, Kentucky, Vermont and
  Washington—that these EPAs are all unregistered “securities” as defined by applicable federal and
  state law. Plaintiffs’ counsel investigated and litigated these claims directly against the Voyager entities
  for over a year before the Voyager debtor entities filed for Chapter 11 bankruptcy. Thus, much of the
  legwork has already been completed and Plaintiffs are prepared to move this case expeditiously and

   1
    See https://www.nj.gov/oag/newsreleases22/Voyager%20Summary%20Order.pdf (accessed
   November 18, 2022)
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 2 of 13



  efficiently.
          Defendants’ participation and/or actions in Voyager’s offerings and sales of EPAs violated
  various provisions of state securities laws and deceptive trade practices statutes of Florida, New Jersey,
  California, Pennsylvania, Oklahoma, Tennessee, Alabama, Virginia, and Louisiana. Plaintiffs seek
  certification of a nationwide class, and state subclasses under Rule 23(a), (b)(2), (b)(3), and/or (c)(4)
  of the FRCP, which includes seeking a declaration that the EPAs are unlawfully sold unregistered
  securities, which entitles Plaintiffs and class members to full rescissionary damages. Defendants’
  substantial participation in the offer or sale of these unregistered EPAs, which were offered or sold
  from the State of New Jersey by Voyager Digital LLC, renders Defendants jointly and severally liable
  to Plaintiffs and all Nationwide Class Members for the full measure of damages resulting from their
  offer or sale.
          Discovery will proceed expeditiously and efficiently. The Defendants effectively stayed this
  case for months already while they, and the Voyager debtor entities, sought to extend the automatic
  stay from the New York Bankruptcy Proceedings to this action, forcing Plaintiffs to spend months
  coordinating with counsel for the Voyager Debtors and retained bankruptcy co-counsel, to finally
  reach a Stipulation, whereby Plaintiffs would dismiss with prejudice the claims against Defendant
  Stephen Ehrlich, the former CEO of Voyager (subject to a reservation of rights), so that they could
  finally proceed in these pending claims against Defendants Mark Cuban and the Dallas Mavericks (and
  possibly other Defendants, after brief discovery is completed).
          On November 7, 2022, however, Plaintiffs served on Defendants very narrow and targeted
  discovery—which is not required for the Court to resolve this motion, but which will expedite
  preparation for an expedited trial on the merits of Defendants’ liability for Plaintiffs’ claims—
  including (1) a Request for Production on Defendants, (2) a Set of Interrogatories on Defendants, (3)
  just three Requests for Admission on Defendant Cuban, (4) Notice of Taking Defendants’ Corporate
  Representative Depositions by Zoom on January 12 and 13, and (5) subpoenas for third party
  depositions (without documents) for Henry Gaskins on December 15, Jeff Mishkin on December 16,
  and Stephen Ehrlich on December 19.
          Defendants, of course, ignore these requests, claiming since the parties’ initial meet and confer
  back in August after this action first commenced that they do not need to respond to any of discovery
  requests (or produce the Mavericks/Voyager Sponsorship Agreement dated October 29, 2021 as part
  of their initial disclosure obligations, which Plaintiffs received from Voyager in the Bankruptcy
  Proceedings) because of the motion to stay discovery that they filed today. However, “[i]t has never


                                                      2
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 3 of 13



  been the rule in this district that one party can unilaterally stay proceedings and ignore the
  comprehensive discovery practices well-established under the Federal Rules of Civil Procedure as well
  as the Local Rules for the Southern District of Florida.” Monks v. Diamond Resorts Int'l, Inc., 17-14307-
  CIV, 2018 WL 4208330, at *2 (S.D. Fla. May 11, 2018) (citing PSF Trust v. Northeastern Capital Funding,
  2008 WL 11333495, *2 (S.D. Fla. 2008)). Without a “specific showing of prejudice or
  burdensomeness” by the movant, “unilateral motion[s] to stay discovery pending a ruling on a
  dispositive motion should be denied.” Id. (citing Bocciolone v. Solowesky, No. 08-20200, 2008 WL
  2906719, at 2 (citing S.D. Fla. Local Rule app. A, I(D)(5) (2008))). Thus, and as will be explained
  further in response to Defendants’ motion to stay, the Court should deny the request and order
  discovery to proceed immediately.
             Despite all of Defendants’ efforts to thwart Plaintiffs’ efforts to push the case along, Plaintiffs
  recently moved for certification of a nationwide issue class pursuant to Federal Rules of Civil
  Procedure 23(a), (b)(3), and (c)(4), with respect to the very specific, narrow and simple issue of whether
  (or not) the Voyager Earn Program Accounts constitute unregistered securities. [ECF No. 40].
  Plaintiffs are seeking to have this simple issue determined by the Court as soon as the Court will
  permit as Plaintiffs submit there is likely no additional discovery required to determine Plaintiffs’
  motion for certification. Plaintiffs will thereafter seek a determination on this issue, either through
  summary judgment or an expedited trial to the extent the Court deems the determination to be an
  issue of fact.
       II.         Defendants’ Statement
             Plaintiffs only initiated this putative class action against Defendants after Voyager (defined
  herein) filed for bankruptcy and a related action against Voyager, with nearly identical allegations to
  those asserted here, was stayed. As the Court is aware, after Voyager’s bankruptcy filing, Voyager
  moved before the bankruptcy court to stay this action, and this Court administratively closed this case
  until Voyager’s motion for a stay was resolved. In order to resolve the motion to stay filed by Voyager
  in the bankruptcy court, Plaintiffs agreed to drop their aiding and abetting claims and dismiss, with
  prejudice, their claims against Voyager’s CEO, Stephen Ehrlich (“Ehrlich”) which appeared in their
  original complaint [ECF No. 1] in this action. As a result, this case was administratively reinstated and
  the Court has set a schedule for Defendants to respond to the operative Amended Complaint [ECF
  No. 34] (the “Complaint”). Accordingly, Plaintiffs’ suggestion that Defendants “effectively stayed” this
  action is factually incorrect. While Defendants do believe, as set forth below, that a stay of discovery
  pending the Court’s ruling on Defendants’ motion to dismiss (the “Motion to Dismiss”), which has


                                                         3
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 4 of 13



  been filed today, is warranted, that is an issue for the Court, not the parties, to decide.
          After Plaintiffs’ voluntary dismissal of the aiding and abetting claims and claims against
  Ehrlich, what remains in Plaintiffs’ Complaint are meritless state law securities and deceptive trade
  practices claims against Defendants. The allegations made in Plaintiffs’ Complaint, nonetheless,
  continue to focus on alleged conduct by Voyager (and Ehrlich), with only conclusory, legally and
  factually meritless, and internally inconsistent allegations regarding Defendants. Voyager and Ehrlich
  – and Voyager's operation of its cryptocurrency platform-- not the Defendants, remains the underlying
  gravamen of the claims asserted in Plaintiffs’ Complaint. Plaintiffs’ entire Complaint is subject to
  dismissal on several, independent grounds as set forth in Defendants’ Motion to Dismiss which has
  been filed, to which the Court is respectfully referred. Because Defendants’ Motion to Dismiss would,
  if successful, result in a complete dismissal of Plaintiffs’ Complaint, it would be a waste of the Parties’
  and the Court’s time and resources to engage in discovery or any premature class-related motion
  practice until, at a minimum, the Court rules on the Motion to Dismiss, as the Court’s ruling on the
  Motion to Dismiss may moot entirely or substantially limit the need for any discovery and/or any
  class-related motion practice.
          Finally, it should be noted that during the November 11, 2022, meet and confer of counsel
  for the parties to discuss their respective positions on the Joint Scheduling Report. Defendants made
  clear that all discovery and class issues should be deferred until the Court has ruled on Defendants’
  Motion to Dismiss, which Plaintiffs knew would be filed by November 18, 2022 (per the schedule set
  by the Court), and which has now been filed. Further, prior to or after such meet and confer,
  Defendants consistently advised Plaintiffs' counsel that no discovery should occur until the Court has
  ruled on Defendants' dispositive motion addressed to the pleadings. Defendants provided to Plaintiffs,
  prior to such meet and confer, the proposed schedule set forth in Defendants’ portion of Section V
  below. In Section V, Defendants propose that any class certification motion be filed only after the
  Court’s ruling on the Motion to Dismiss, and only in the event the Court denies in whole or in part
  the Motion to Dismiss. Defendants advised Plaintiffs’ counsel on November 11, 2022 that certain
  proposed party and non-party discovery that Plaintiffs indicated they would like to take was premature
  and entirely inappropriate, since if granted, the Motion to Dismiss would moot the need for any such
  discovery. Plaintiffs’ counsel declined to consent to the request and stated that in their view, such
  proposed discovery was now “live.” As a result, Defendants also have filed today a Motion to Stay
  such discovery until the Court has ruled on the Motion to Dismiss. Furthermore, in Defendants’ view
  and consistent with how courts generally proceed in such matters, the customary protocol in class


                                                      4
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 5 of 13



  action cases is for a motion to dismiss to be decided prior to any class issues being considered or
  adjudicated. Unfortunately, in a transparent effort to preempt and disrupt Defendants’ request that
  the Court, in setting an overall schedule for this case, direct that any class certification motion not be
  filed until after the Court has ruled on Defendants' Motion to Dismiss, on November 15, 2022,
  Plaintiffs’ counsel filed a meritless, premature motion for class certification. As part of Defendants’
  Motion to Stay, which was filed today, Defendants seek a ruling from the Court staying any further
  proceedings on such class issues until the Court has ruled on the Motion to Dismiss. Defendants
  respectfully refer the Court to such Motion to Stay for a fuller presentation of Defendants’ reasons
  for why, consistent with well-established practice, a stay of the class issues is clearly warranted here.
          Defendants otherwise take issue with Plaintiffs’ self-serving “Statement” and characterization
  of the issues in the case, and prior procedural history set forth therein, and do not believe it necessary
  or constructive to submit a more fulsome response at this time. While the parties did exchange prior
  to November 11, 2022, draft sections of the proposed Joint Scheduling Report, Plaintiffs have been
  unwilling to further engage with Defendants in preparing a Joint Scheduling Report, and Defendants
  therefore do not presently know whether Plaintiffs will make further representations or statements in
  their portion of the Joint Scheduling Report that is to be filed today that warrant a response, or
  correction. Defendants accordingly reserve all rights.
       III. Conference Report – Information Required by L.R. 16.1(B)(2)
           A.       Likelihood of Settlement
           Plaintiffs believe that that any discussion of settlement would be premature at this stage.
   Defendants believe that settlement is unlikely. Nonetheless, if the Motion to Dismiss is denied in
   whole or in part, the Parties agree to comply with any requirements under the Local Rules with
   respect to good faith settlement discussions.
           B.       Likelihood of Appearance in the Action of Additional Parties
          Plaintiffs believe that, as discovery progresses, additional parties may be added. Defendants
  reserve all rights on this issue.
           C.       Proposed Limits on Time
           See the proposed case schedule at Section V, below.
           D.       Proposals for the Formulation and Simplification of Issues
          Plaintiffs submit that the Parties will work in good faith to simplify the issues at an appropriate
  time. Defendants submit that, if their Motion to Dismiss is granted, there will be no need for the



                                                      5
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 6 of 13




  formulation and simplification of issues, and propose that this issue be revisited, if necessary, after
  the Court has ruled on the Motion to Dismiss.

           E.      Necessity or Desirability of Amendments to the Pleadings
          Although the Parties do not anticipate a need to amend the pleadings at this time, Plaintiffs
  have proposed a deadline for amendments in their proposed schedule for after the Court’s decision on
  class certification, in the event Plaintiffs need to convert this action to a mass action.
          Defendants believe that, if the Court grants the Motion to Dismiss, any proposed amendment
  to the pleadings may be unnecessary and/or improper, and request that the issue be revisited, if
  necessary, after the Court rules on the Motion to Dismiss.
           F.      Possibility of Obtaining Admissions and Stipulations
          Plaintiffs will cooperate in good faith to obtain admissions and stipulations in the discovery
  process that will limit the issues in dispute and reduce the time needed to conduct a trial. Defendants
  will endeavor to do the same if Plaintiffs’ Complaint survives the Motion to Dismiss, The Parties will
  also cooperate in good faith on stipulations regarding the authenticity of documents to avoid
  unnecessary disputes at trial. As to electronic discovery, the Parties will cooperate in good faith to
  develop a protocol to facilitate electronic discovery without the involvement of the Court. Defendants
  submit that this issue should be revisited, if necessary, after the Court rules on Defendants’ Motion
  to Dismiss.
           G.     Suggestions for the Avoidance of Unnecessary Proof and of Cumulative
                  Evidence
          Plaintiffs have no suggestions at this time but will cooperate in good faith to eliminate
  unnecessary proof and cumulative evidence. Plaintiffs submit that they will endeavor to utilize all
  relevant information and discovery from Cassidy v. Voyager Digital LLC, et al., Case No. 21-24441-CIV-
  ALTONAGA/Torres (S.D. Fla.) to the fullest extent permitted in order to streamline these
  proceedings.

          Defendants submit that this issue should be revisited, if necessary, after the Court rules on
  Defendants’ Motion to Dismiss. Defendants are not presently aware of what “information and
  discovery” was obtained by Plaintiffs in the Cassidy action before such action was stayed.
           H.      The Advisability of Referring of Matters to a Magistrate Judge
           Plaintiffs consent to refer discovery motions to a Magistrate Judge. Defendants submit that
   the issue of whether discovery motions and other discovery-related disputes should be referred to a



                                                       6
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 7 of 13



   Magistrate Judge, should be revisited, if necessary, after the Court rules on Defendants’ Motion to
   Dismiss.
              The Parties do not consent to trial by a Magistrate Judge, nor to the disposition of dispositive
   pre-trial motions by a Magistrate Judge.
              I.      Preliminary Estimate of Time Required for Trial
              Plaintiffs estimate that a trial in this matter would require 5–7 days. Plaintiffs demand a jury
   trial.
              If, arguendo, Plaintiffs’ claims were to survive the Motion to Dismiss and summary
   judgment, Defendants believe a trial of such claims would likely require more than 10 trial days.
              J.      Pretrial Conference and Trial Dates
              See Section V, below.
              K.      Any Discovery Issues
              Plaintiffs will cooperate in good faith to develop protocols to facilitate electronic discovery
   and govern privilege issues without the involvement of the Court. This may include the submission
   of an agreed confidentiality order.
              Defendants submit, as set forth in Section III.F, supra, in the event Plaintiffs’ Complaint
   survives the Motion to Dismiss, Defendants will cooperate in good faith to develop protocols to
   facilitate electronic discovery and govern privilege and confidentiality issues without the
   involvement of the Court, including an agreed confidentiality order.

              Defendants submit that this issue should be revisited, if necessary, after the Court rules on
   Defendants’ Motion to Dismiss. As set forth in Section II, supra, Defendants submit that a stay of
   discovery should be in place pending the Court’s ruling on the Motion to Dismiss.
        IV.        Additional Information Required by L.R. 16(B)(3)
              A.      Assignment of the Case to a Particular Track
              Plaintiffs’ position is that, if the Motion to Dismiss the Complaint is denied, and given that
   Plaintiffs’ pending motion for class certification seeks only certification of an issue class and an
   expedited determination on the question of whether the EPAs constitute unregistered securities,
   Plaintiffs believe the case would merit a standard case management track at this stage, as defined
   by Local Rule 16.1, and as set forth in their schedule proposed in section V, below.
              Defendants believe that, if Plaintiffs’ Complaint survives the Motion to Dismiss, the case
   merits a complex case management track, as defined by Local Rule 16.1.



                                                         7
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 8 of 13




             B.      Detailed Discovery Schedule
            Defendants submit that all discovery should be stayed until the Court rules on Defendants’
  Motion to Dismiss. Subject to that reservation of rights, the Parties’ respective scheduling proposals
  are set forth below, at Section V.
             C.      Any Agreements or Issues Regarding Discovery
            There are currently no agreements or issues to be decided by the Court regarding the
  preservation, disclosure, and discovery of documents, electronically stored information, or other
  tangible things. If the Motion to Dismiss the Complaint is denied, the Parties will cooperate in good
  faith to develop protocols to facilitate electronic discovery and govern privilege and confidentiality
  issues without the involvement of the Court. Defendants submit that if the Motion to Dismiss is
  granted, there will be no need for discovery in this action.
       V.         The Parties’ Proposed Schedule
             Plaintiffs propose the following schedule:

                   Date                                          Deadline or Event
         November 18, 2022             Deadline for Defendants to respond to the Amended Complaint
         November 18, 2022             Deadline to furnish Initial Disclosures pursuant to FRCP 26
            December 1, 2022           Deadline to select a mediator, and schedule time, date and place
            January 13, 2023           Deadline for Plaintiffs to file Motion for Class Certification
                                       Deadline for Defendants to file response to Plaintiffs’ Motion for
         November 29, 2022
                                       Class Certification

            December 6, 2022           Deadline for Plaintiffs to file Reply in support of Plaintiff’s
                                       Motion for Class Certification

       To be set by the Court.         Hearing on Plaintiff’s Motion for Class Certification
      Within 21 days following the
      Court’s ruling on Plaintiff’s
                                       Deadline to file motions to amend pleadings or join parties
      motion for class certification
              April 7, 2023            Deadline to complete fact discovery

              April 7, 2023            Deadline for Parties to disclose experts, expert witness
                                       summaries and reports
             April 28, 2023            Deadline to complete mediation


                                                      8
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 9 of 13




      Within 28 days of each
                                      Deadline to exchange rebuttal expert witness summaries and
     Party’s expert disclosures
                                      reports
    Within 21 days of each Party’s
     rebuttal expert disclosures
                                      Deadline to complete expert discovery

           June 30, 2023
                                      Deadline to file all dispositive pre-trial motions
            July 21, 2023             Deadline to respond to all dispositive pre-trial motions

           August 4, 2023             Deadline to reply in support of all dispositive pre-trial motions

          August 11, 2023
                                      Deadline to file joint pretrial stipulation, witness lists, exhibit
                                      lists, accordance with Local Rule 16.1(d) and (e), and proposed
                                      jury instructions/conclusions of law (for non-jury trials)
          August 18, 2023             Deadline for Parties to submit their deposition designations

          August 25, 2023
                                      Deadline to file Daubert motions, motions to strike experts
        September 11, 2023
           (approximate)              Two-week trial period commences


          As stated in Section II, supra, and as set forth more fully in Defendants' Motion to Stay (filed

  today), Defendants propose that discovery and any motion practice relating to class certification be

  stayed unless and until Defendants’ Motion to Dismiss is denied in whole or in part. Accordingly,

  Defendants propose the following schedule, which is conditioned on, and built out from, any

  potential adverse ruling on the Motion to Dismiss, and is subject to any further extensions that may

  be granted by the Court:

   Date                                               Deadline or Event
   November 18, 2022                                  Deadline for Defendants’ Motion to Dismiss
                                                      and any motion to stay discovery pending a
                                                      ruling on the Motion to Dismiss
   December 19, 2022                                  Deadline for Plaintiffs to oppose Motion to
                                                      Dismiss
   January 18, 2023                                   Deadline for Defendants to file reply in support
                                                      of Motion to Dismiss
   14 days following the Court’s ruling on the        Deadline for the Parties to furnish their Initial


                                                     9
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 10 of 13




    Motion to Dismiss (if the Court denies in part    Disclosures pursuant to Fed. R. Civ. P. 26
    or whole such Motion to Dismiss)
    20 days after the Court’s ruling on the Motion    Deadline for the Plaintiffs to move for class
    to Dismiss (if the Court denies in part or        certification
    whole such Motion to Dismiss)
    90 days following the filing of Plaintiffs’       Deadline for completion of “Phase I” discovery
    Motion for Class Certification                    related to class certification
    30 days following the completion of class         Deadline for Defendants to respond to
    discovery                                         Plaintiffs’ Motion for Class Certification
    15 days following the filing of Defendants’       Deadline for Plaintiffs to file reply in support of
    response to the Motion for Class Certification    Motion for Class Certification
    7 days following the Court’s ruling on            Deadline for Parties to amend pleadings and join
    Plaintiffs’ motion for class certification        additional parties
    270 days following the Court’s ruling on          Deadline to complete fact discovery
    Plaintiffs’ motion for class certification
                                                      Deadline to select a mediator
    30 days following the close of fact discovery     Deadline for the Parties to disclose experts,
                                                      expert witness summaries and reports
                                                      Deadline to complete mediation
    30 days following each Party’s expert             Deadline to exchange rebuttal expert witness
    disclosure                                        summaries and reports
    30 days following each Party’s rebuttal expert    Deadline to complete expert discovery
    disclosures
    30 days following the close of expert discovery   Deadline to file dispositive pre-trial motions
    14 days following the filing of pre-trial         Deadline to respond to dispositive pre-trial
    motions                                           motions
    7 days following filing of responses to           Deadline to file replies in support of dispositive
    dispositive pre-trial motions                     pre-trial motions
    30 days following the filing of replies in        Deadline to file joint pretrial stipulation, witness
    support of dispositive pre-trial motions          lists, exhibit lists, accordance with Local Rule
                                                      16.1(d) and (e), and proposed jury
                                                      instructions/conclusions of law (for non-jury
                                                      trials)
                                                      Deadline for Parties to exchange affirmative
                                                      deposition designations
    10 days following the exchange of deposition      Deadline for Parties to exchange counter-
    designations                                      designations and objections to deposition
                                                      designations
    7 days following the exchange of counter-         Deadline for Parties to exchange rebuttal
    designations and objections                       designations and objections to counter-
                                                      designations
    5 days following the exchange of rebuttal         Deadline for Parties to exchange objections to
    designation and objections                        rebuttal designations and submit deposition
                                                      designations, with objections thereto
    14 days following the submission of               Deadline for Parties to file Daubert motions,
    deposition designation and objections             motions to strike experts, and motions in limine
                                                      (collectively “Evidentiary Motions”)


                                                      10
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 11 of 13




    14 days following the filing of each Party’s       Deadline for Parties to respond to Evidentiary
    Evidentiary Motions                                Motions
    7 days following the filing of each Party’s        Deadline for the Parties to file replies in support
    Evidentiary Motions                                of Evidentiary Motions
    June 15, 2024, or 7 days following the filing of   Trial commences
    the Parties’ replies in support of Evidentiary
    Motions, whichever is later



        VI.        Federal Rule of Civil Procedure 26(F)(3) Discovery Plan

              A.      What changes should be made in the timing, form, or requirement
                      for disclosures under Rule 26(a), including a statement of when
                      initial disclosures were made or will be made.

           Plaintiffs propose that the Parties serve Initial Disclosures on November 18, 2022, and
   supplement their Disclosures, if necessary, in accordance with F.R.C.P. 26(a).
           Defendants, as set forth in Section V, supra, propose that Initial Disclosure be served 14 days
   after any ruling from the Court denying Defendants’ Motion to Dismiss in whole or in part.
   Defendants have included in their Motion to Stay a request that the Court stay the parties' obligations
   to provide initial disclosures under Rule 26(a).
              B.     The subjects on which discovery may be needed, when discovery should
                     be completed, and whether discovery should be conducted in phases or
                     be limited to or focused on particular issues.
           Plaintiffs’ discovery will be centered on Defendants’ practices, agreements, and
   representations concerning the Voyager Earn Program Accounts (“EPAs”) as marketed and
   promoted by the Defendants. Plaintiffs submit that discovery should not be phased or otherwise
   limited to any particular issues.
           Defendants submit that no discovery should be conducted until Defendants’ Motion to
   Dismiss is decided. In the event Defendants’ Motion to Dismiss is denied in whole or in part,
   Defendants submit that discovery should proceed in two phases: with “Phase I” consisting of class-
   related discovery; and “Phase II” consisting of merits-related discovery only after it is determined
   whether or not a class will be certified. Defendants’ Phase I class discovery will primarily focus on
   how and when each Plaintiff became a Voyager customer, when, if at all, each Plaintiff received an
   EPA, and what information about Voyager, the Voyager Platform, and the EPAs was available to and
   known by each Plaintiff when he or she became a Voyager customer, and other matters relating to the
   conduct and knowledge of Plaintiffs. Defendants’ Phase II discovery will focus more generally on the


                                                       11
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 12 of 13



   conduct of Voyager and the practices of Voyager and its current and former management.
            C.      Any issues about disclosure, discovery, or preservation of electronically
                    stored information, including the form or forms in which it should be
                    produced

           Plaintiffs will work in good faith to resolve issues concerning discovery and the production of
   electronically stored information. Defendants submit that, in the event that Defendants’ Motion to
   Dismiss is denied in whole or in part, Defendants will work in good faith to resolve issues concerning
   discovery and the production of electronically stored information. The Parties will use their best
   efforts to resolve discovery disputes without the need for unnecessary motion practice before the
   Court, but respectfully reserve their rights to seek assistance from the Court if needed.
           Defendants submit that no discovery should occur prior to the Court’s ruling on the Motion
   to Dismiss.

            D.      Any issues about claims of privilege or of protection as trial-preparation
                    materials, including—if the parties agree on a procedure to assert these
                    claims after production— whether to ask the court to include their
                    agreement in an order under Federal Rule of Evidence 502

           Plaintiffs agree to use the procedures set forth in Fed. R. Civ. P. 26(b)(5), Fed. R. Evid. 502,
   and any protective order entered in this action regarding any claims of privilege or protection for
   materials asserted as prepared in anticipation of litigation or trial. Defendants submit that, in the event
   that Defendants’ Motion to Dismiss is denied in whole or in part, Defendants will cooperate in good
   faith to develop a protocol governing any additional privilege issues.
           Defendants submit that this issue should be revisited, if necessary, once the Court has ruled on
   Defendants’ Motion to Dismiss.
            E.      What changes should be made in the limitations on discovery imposed under
                    these rules or by local rule, and what other limitations should be imposed

           At this time, subject to Defendants’ reservation of rights as set forth herein, the Parties do not
   propose any additional limitations on discovery besides what has already been addressed herein.
            F.      Any other orders that the court should issue under Rule 26(c) or under Rule
                    16(b) and (c)

            At this time, the Parties do not propose any changes to the limitations imposed under the
    Federal Rules of Civil Procedure.
                   Dated: November 18, 2022



                                                       12
Case 1:22-cv-22538-RKA Document 46 Entered on FLSD Docket 11/18/2022 Page 13 of 13




      By: /s/ Adam Moskowitz                           By: /s/ Christopher E. Knight
     Adam M. Moskowitz                                 Christopher E. Knight
     Florida Bar No. 984280                            Florida Bar No. 607363
     adam@moskowitz-law.com                            cknight@fowler-white.com
     Joseph M. Kaye                                    FOWLER WHITE BURNETT, P.A.
     Florida Bar No. 117520                            Brickell Arch, Fourteenth Floor
     joseph@moskowitz-law.com                          1395 Brickell Avenue
     Barbara C. Lewis                                  Miami, FL 33131
     barbara@moskowitz-law.com                         Telephone: (305) 789-9200
     Florida Bar No. 118114                            Facsimile: (305) 789-9201
     THE MOSKOWITZ LAW FIRM, PLLC
     2 Alhambra Plaza, Suite 601                       Stephen A. Best (pro hac vice)
     Coral Gables, FL 33134                            sbest@brownrudnick.com
     Telephone: (305) 740-1423                         Rachel O. Wolkinson (pro hac vice)
                                                       rwolkinson@brownrudnick.com
     By: /s/ David Boies                               Brown Rudnick LLP
     David Boies                                       601 Thirteenth Street NW Suite 600
     (Admitted Pro Hac Vice)                           Washington, DC 20005
     BOIES SCHILLER FLEXNER LLP                        Telephone: (202) 536-1737
     333 Main Street
     Armonk, NY 10504                                  Sigmund Wissner-Gross (pro hac vice)
     Phone: (914) 749–8200                             swissner-gross@brownrudnick.com
     dboies@bsfllp.com                                 Jessica N. Meyers (pro hac vice )
                                                       jmeyers@brownrudnick.com
     By: /s/ Stephen Neal Zack                         Brown Rudnick LLP
     Stephen Neal Zack                                 Seven Times Square
     Florida Bar No. 145215                            New York, NY 10036
     Hon. Ursula Ungaro (Ret.)                         Telephone: (212) 209-4800
     Florida Bar No. 200883
     BOIES SCHILLER FLEXNER LLP
     100 SE 2nd St., Suite 2800                        Counsel for Defendants
     Miami, FL 33131
     Office: 305-539-8400
     szack@bsfllp.com
     uungaro@bsfllp.com

     Co-Counsel for Plaintiffs and the Class
                                      CERTIFICATE OF SERVICE
            I hereby certify that a true and correct copy of the forgoing was filed on November 18,
    2022, with the Court via the CM/ECF system, which will send notification of such filing to all
    attorneys of record.
                                                                  By: s/ Adam M. Moskowitz
                                                                         ADAM M. MOSKOWITZ




                                                  13
